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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

             Plaintiffs,

       v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                 CASE NO. 1:20-CV-484-LO-TCB
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

             Defendants.


       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
               RULE 37 AND CIVIL CONTEMPT SANCTIONS
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         Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (“Plaintiffs”) hereby respect-

  fully seek relief against Defendants Brian Watson and WDC Holdings, LLC (“Defendants”) under

  Federal Rule of Civil Procedure 37 and the Court’s civil contempt power for ongoing violations

  of the Court’s July 22 and November 13, 2020 discovery orders. Dkts. 95, 231.

                                          INTRODUCTION

         This case is about a fraud and kickback scheme that Defendants and their co-conspirators

  used to enrich themselves by obtaining illegal proceeds on over $500 million of Amazon develop-

  ment projects in this District. Dkt. 150. Early last year, Plaintiffs obtained extensive evidence of

  Defendants’ involvement in this scheme from informants and co-conspirators cooperating with

  federal prosecutors. Based on this record and to preserve the status quo, the Court entered a Tem-

  porary Restraining Order and Preliminary Injunction requiring Defendants to post $21.25 million

  in security. Dkts. 16, 57. Defendants refused to comply on the grounds that they “never received

  anywhere near that amount of money in connection with the transactions,” Dkt. 193-2 at 18:25–

  19:1, and that their assets were “not sufficient” to post the required amount, id. 24:3–5. But they

  failed to substantiate these claims in months of litigation. The Court held that “discovery is the

  answer.” Id. 26:10–28:6.

         On July 22, 2020, the Court ordered Defendants to respond to 22 written discovery requests

  about their transaction proceeds and assets. Dkts. 94–95. Defendants did not comply, and on

  November 13 the Court entered a Rule 37 order rejecting all of their objections and requiring

  “everything to be produced within 11 days.” Ex. 1 at 12:13; 13:3–5; 13:14–19; Dkt. 230. Defend-

  ants defied this order too, and have since engaged in a “pattern of obstruction and delay” to conceal

  information about their meritless injunction defenses while dissipating over $100 million in assets

  and collaterally attacking this Court’s rulings. Cappetta v. GC Servs. Ltd. P’ship, 2008 WL



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  5377934, at *6 (E.D. Va. Dec. 24, 2008).

         This motion seeks Rule 37 and civil contempt sanctions for these discovery violations,

  which are actionable independent of Defendants’ non-compliance with the Court’s injunctions.

  Defendants’ discovery abuses are on par with misconduct this Court routinely sanctions with de-

  fault judgment. The more modest sanctions Plaintiffs seek here are the minimum relief required

  because, after “a third chance,” Defendants “chose not to follow the Court’s clear instruction” to

  provide “non-evasive answer[s]” to “foundational questions” about their proceeds from the Ama-

  zon transactions and the assets they could use to post court-ordered security. Certain Underwriters

  at Lloyd’s v. AdvanFort Co., 2019 WL 3366103, at *4 (E.D. Va. July 25, 2019).

         These deficiencies are inexcusable because the Court’s November order overruled all of

  Defendants’ objections to the July order directing them to answer discovery about their transaction

  proceeds and over $1 billion in assets they claimed were too “illiquid” to post a penny of judgment

  security. After violating the Court’s November 24 deadline for producing this discovery, Defend-

  ants served supplemental responses that obscured or delayed action on their remaining deficiencies

  for months. Notably, in late December they produced a privilege log that withheld or redacted at

  least 6,331 documents based on improper claims they partially withdrew in February with a prom-

  ise to reexamine invalid entries they have since refused to address. They also concealed their post-

  injunction disposition of over $82 million in assets until Plaintiffs uncovered them through public

  searches, and then purported to explain the sales in supplemental productions that still do not ac-

  count for tens of millions in relevant proceeds. In addition, Defendants waited until early May to

  make promised productions from devices the FBI returned to them months ago, and then produced

  only 66 documents that are riddled with deficiencies and undermine the defenses the discovery

  was ordered to address.



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         The consequences of these violations are clear. Defendants’ productions: (i) do not iden-

  tify all of their transaction proceeds; (ii) do not account for at least $18.8 million of Defendants’

  post-injunction disposition of over $100 million in assets; (iii) do not identify the “investors” who

  allegedly prevented Defendants from posting court-ordered security; (iv) do not justify withhold-

  ing or redacting over 6,300 responsive documents under waived and invalid privilege designations;

  and (v) do not cure the deficiencies Plaintiffs identified in the May production from devices the

  FBI returned months ago. The resulting prejudice is equally clear. Critical facts that Defendants

  control and assert as justifications for their ongoing contempt of this Court’s rulings remain a

  “moving target” after a year of litigation including two injunctions, two discovery orders, an ap-

  peal, and months of collateral civil and criminal proceedings. Lloyds, 2019 WL 3366103, at *8.

  This Court has “nearly unfettered discretion” to “impose sanctions for [Defendants’] failur[e] to

  comply with its discovery orders.” Hinkle v. City of Clarksburg, 81 F.3d 416, 426 (4th Cir. 1996).

  Here, the record compels at least the following three remedies for the violations above.

         First, the Court should overrule the defenses impacted by the discovery violations. Pre-

  clusion is the proper remedy for such violations, particularly where the defenses are otherwise

  unsupported. That is the case here. Even Defendants’ untimely and deficient responses show that

  the Court’s orders do not overstate Defendants’ transaction proceeds of at least $21.25 million, or

  their control of related assets. Defendants admit that they received $5 million from the Amazon

  White Peaks sale, and documents buried in the chaff of their productions reference at least another

  $18,636,919 in Northstar “Acquisition, Leasing, Development and Asset Management” fees on

  the relevant transactions. Further, Defendants confirmed this spring over $100 million in asset

  dispositions they used to pay their own affiliates and liquidate the “investor” interests that alleg-

  edly encumbered their holdings. Further, the few text messages they produced this month confirm



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  their conspiratorial relationship with co-defendant and former Amazon manager Casey Kirschner,

  as well as inculpatory dealings with several co-defendants. These productions thus corroborate,

  not rebut, independent record evidence that Defendants’ transaction proceeds totaled at least

  $21.25 million, and were used to fund kickbacks to co-defendants Casey Kirschner and Carleton

  Nelson.1 Defendants’ decision to delay these productions and dissipate assets while making mer-

  itless discovery objections and improperly blaming vendors, investors, and even law enforcement

  for their untimely and deficient responses forecloses their preliminary injunction defenses.

         Second, the Court should strike all of the privilege assertions Defendants improperly raised

  in December and require immediate production of all associated documents (over 6,300) in their

  entirety. The Court ruled in November that it was “not allowing [Defendants] to have any privilege

  objection.” Ex. 1 at 13:3–5. And even if Defendants could overcome that bar, their December log

  was served over a month after the November 24 deadline for “all” productions and is facially

  deficient. Failure to substantiate or “file a privilege log in a timely manner” means the “privilege

  claim … is waived.” Sectek Inc. v. Diamond, 2016 WL 5897763, at *3 (E.D. Va. Oct. 6, 2016).

         Third, the Court should order forensic examination of Defendants’ devices and appoint a

  special master to oversee their responses to the Court’s orders, at their expense and subject to daily

  court fines for non-compliance. Such remedies are proper where, as here, Defendants have “failed

  to answer some of the discovery and … provided what appears to be evasive or incomplete answers

  to many questions or requests.” Cappetta, 2008 WL 5377934, at *6.



  1
    Evidence of this kickback arrangement includes audio recordings in which: (i) Watson agrees
  that “first priorities should be Casey and Carl,” Dkt. 212-15 at 21; and (ii) Nelson tells a former
  Northstar employee that the “first couple distributions [Nelson and Kirschner] took” on the
  Northstar transactions came “through Casey’s brother” at Northstar partner Villanova, which was
  “some sketchy a** sh**,” Dkt. 212-13 at 9; Nelson had “taken 960 total” and Kirschner “eight
  something” from “all Brian’s fees,” id. at 30; and Nelson and Kirschner could continue getting
  kickback deals approved because people at Amazon are “f****** idiot[s],” id. at 19, 27.
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                                   RELEVANT BACKGROUND

         The discovery violations addressed herein are the latest examples of Defendants’ unabated

  contempt for this Court’s rulings. The following history is relevant to the current relief requested.

         2020 TRO and Preliminary Injunction. Defendants’ misconduct was exposed in late

  2019, when an informant notified Amazon that Defendants conspired to pay kickbacks to corrupt

  Amazon insiders in exchange for their approval of inflated real estate development contracts the

  conspirators used to defraud Amazon of tens of millions of dollars on several high value projects

  in this District. On April 2, 2020, the FBI executed search warrants against Defendants, and De-

  fendants’ business partner terminated their joint venture for developing the affected properties. In

  response, Defendants sought to eliminate assets and evidence central to the case, forcing Plaintiffs

  to file this suit and seek the TRO the Court granted on April 28, 2020. (Dkt. 16.) But the Defend-

  ants defied the TRO on the grounds that it misrepresented their role in, and proceeds from, the

  transactions in suit. The Court gave them ample time to support these claims in the preliminary

  injunction litigation last spring, but they failed to do so. They continued to rely on unsubstantiated

  assertions, and their only testimony was from counsel who attached a transcript of an audio re-

  cording among several co-conspirators that Plaintiffs exposed as omitting an inculpatory reference

  to Casey Kirschner. (Dkts. 41 & 42-3.)

         Based on this extensive record, the Court converted the TRO to a preliminary injunction,

  but indulged Defendants’ request to modify the terms and delay entry of the order so they could

  obtain a bond. (Dkts. 49–51.) They failed to do so. Accordingly, on June 5, 2020, the Court

  entered the injunction with various security options, all of which Defendants have defied to this

  day. (Dkts. 57; 84 at 2.) Plaintiffs initiated contempt proceedings in July 2020. (Dkts. 67–68,

  84.) Defendants responded by appealing the injunction’s $21.25 million security provision (which



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  the Court did not stay pending appeal), Dkts. 72, 137,2 and reprising their claims that the provision

  “far overestimate[s] the amount of money that [Defendants] actually received from Amazon,” Dkt.

  193-2 at 18:21–23; that the “different types of fees that were paid” on the transactions at issue are

  “not the kind of thing that one can quickly come in and summarize for the Court,” id. 17:22–25;

  and that Defendants “do not have anywhere near enough available cash or other liquid assets to be

  able to place $21,250,000 into escrow,” Dkt. 193-2 at 18:25–19:1. The Court responded that “dis-

  covery is the answer,” and that it should be “expeditious.” Id. at 26:10–12; 27:23–24.

         July 2020 Discovery Order. On July 21, Plaintiffs filed and served 22 requests (15 docu-

  ment requests and 7 interrogatories) tailored to Defendants’ unsubstantiated injunction challenges

  in this Court and the Fourth Circuit. (Dkt. 94.) On July 22, the Court ordered Defendants to

  “respond” in accordance with “Federal Rules of Civil Procedure 26, 33, and 34.” (Dkt. 95 at 1.)

  Defendants did not do so. In August 2020, they served boilerplate objections to the document

  requests, wasted weeks backtracking on conference commitments, and made only two productions

  (of 94 and 88 documents, respectively). Their interrogatory responses were equally deficient and

  failed to provide any substantive responses. In response to Plaintiffs’ inquiries, Defendants prom-

  ised to produce additional documents and a privilege log “as soon as possible.” (Dkt. 193-9). But

  in September they produced just 11 non-duplicative documents and a four-line redaction log with

  an email stating “that is all you will be receiving.” Id.

         November 2020 Rule 37 Order Granting Plaintiffs’ Motion to Compel. Defendants’ Sep-

  tember productions did not address any of the requests they refused to answer in July, and were



  2
     The appeal raises the same factual claims this Court ordered Defendants to substantiate in dis-
  covery, including whether the June 2020 injunction overstates “the amount paid to Defendants or
  [Amazon’s] own damages” from the transactions in suit. Compare Amazon.com, Inc. v. WDC
  Holdings, LLC, No. 20-1743 (4th Cir.), Appellants’ Reply Br. at 1–2 with Dkt. 82 at 9–11; Dkt.
  94-1 (RFPs). The Fourth Circuit heard argument on January 27, 2021 and a decision is pending.
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  rife with additional deficiencies. Plaintiffs moved to compel (Dkt. 190), and on November 13 the

  Court granted the motion, overruled Defendants’ objections, and ordered that the July 22 requests

  “be answered” as written because Defendants had not shown “how you would narrow [the re-

  quests] any further and Amazon still be able to get the information that is necessary to decide the

  motion for sanctions.” Dkt. 231; Ex. 1 at 12:7–10. The Court then ordered Defendants to “fully

  and completely respond to the [July] discovery requests” by November 24, 2020. Ex. 1 at 13:14–

  21 (emphasis added). The Court stated that it was “not allowing [Defendants] to have any privi-

  lege objection, so you don’t need to review [the documents], you just need to produce them.” Id.

  at 13:3–5 (emphasis added). Defendants responded that “[t]here were privilege objections and a

  [four-entry redaction] log produced” before the hearing. Id. at 8–9. The Court agreed to “look at

  that separately, but otherwise” ordered “everything to be produced within 11 days.” Id. at 12:13;

  13:3–5; 13:18–19 (emphasis added).

         Defendants’ Remaining 2020 Productions. Defendants again failed to comply with the

  Court’s order. On November 24, they produced 113,547 documents with no privilege log or indi-

  cation that additional responsive documents were being withheld. Ex. 2. On November 25, they

  produced supplemental interrogatory responses that were facially deficient (particularly on re-

  quests 2 through 7 regarding their transaction proceeds and asset dispositions) and simply referred

  to unidentified documents in their incomplete productions. Exs. 3, 4.3 Plaintiffs searched the

  document productions but could not locate the responsive information.

         On Friday, December 11, 2020, Defendants produced another 46,871 documents totaling

  nearly 300,000 pages. When Plaintiffs inquired about the reason for this untimely production,



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    Plaintiffs later learned that this production omitted documents Defendants withheld until Febru-
  ary 3. See, e.g., Ex. 7                                                                     .

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  Defendants said the documents “had to be retrieved from a third party which did not move as

  quickly or communicate as clearly as we hoped.” Ex. 5. Upon further inquiry, Defendants admit-

  ted that the production was obtained from NexusTek, Defendants’ hosting service, which is not a

  “third party” for Rule 26 purposes. Ex. 6. Defendants’ ensuing correspondence independently

  confirmed that it was not “retrieval” issues at NexusTek that prevented Defendants from meeting

  the Court’s December 11 production deadline, but rather Defendants’ admitted failure even to

  request the documents until November 17. Id. (conceding they “[r]eached out to NexusTek” on

  November 17, and NexusTek provided “over 70,000 documents” on November 24, 2020). On

  December 18, 2020, Defendants made two more productions and Plaintiffs sent Defendants a letter

  detailing several prejudicial deficiencies in Defendants’ interrogatory responses, (Ex. 8), notably:

        Interrogatory 2 (description of asset dispositions since April 2, 2020): Defendants’
         responses failed to address the status of assets identified in Amazon’s July 2020 show cause
         motion, as well as Defendants’ disposition of at least $82 million in assets since June 2020.4

        Interrogatory 3 (financial benefits of any kind received or owed on the transactions
         in issue): Defendants’ responses failed to provide any details regarding “the fees received
         by Northstar” on the relevant transactions, when and how these fees were “distributed to
         Mr. Watson [or] used to pay bills on behalf of Northstar,” or the disposition and location
         of the $5 million payment Defendants admittedly received on the White Peaks sale.

        Interrogatory 5 (knowledge or reason to believe co-defendants or others would re-
         ceive a “share” of Defendants’ transaction proceeds): Defendants’ responses do not
         substantiate their purported ignorance of the kickbacks documented in other record evi-
         dence, and play word games in disclaiming that co-defendants “actually received” kick-
         backs at certain times (such as “while [Casey Kirschner] was an employee at Amazon”).

        Interrogatory 6 (names and details of investors involved in the relevant transactions
         or who Defendants contend are barriers to posting “judgment security”): Defendants’


  4
    These dispositions include: (i) 5825 Mark Dabling Blvd, sold for $17,000,000 on 10/1/2020; (ii)
  9200 E. Mineral Avenue, sold for $9,050,000 on 12/9/2020; (iii) 5500 S. Quebec Street, sold for
  $25,480,000 on 7/30/2020; (iv) 2979 N. Uinta Street, sold for $24 million on 11/4/2020; (v) 3840
  S. Wadsworth Blvd, sold for an unknown amount on 8/18/2020; (vi) 800 Hoyt Street, sold for
  $22,212,000 on 12/8/2020; (vii) 18445-18455 W. Colfax Avenue, apparently transferred to an
  affiliate for $1,117,662 on 11/23/2020; and (vii) Mt. Pocono, sold for $25,175,000 on 12/23/20.

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         responses failed to identify any of the “investors” who purportedly “rendered” Defendants
         “unable to pledge” any of their claimed net worth to satisfy the Court’s injunction.

         Defendants responded on December 22, 2020 that their “production will be complete with

  the production of a sharefile [sic] today of documents originally deemed privileged.” Ex. 9. But

  that file (of 1,071 documents) was not transmitted until the afternoon of December 24 and was not

  Defendants’ final production. On December 30, they produced over 1,800 additional documents,

  again without a privilege log. Then, at 5:20 p.m. on New Year’s Eve, Defendants produced a

  facially deficient log with 6,331 entries. Exs. 10, 11. Defendants thereafter made five additional

  productions, most recently on May 13, none of which complies with the Court’s orders.

         Defendants’ 2021 Misrepresentations, Deficient Productions, and Asset Dissipation. On

  January 8, 2021, Defendant WDC Holdings provided a supplemental response to Interrogatory 2

  detailing the asset dispositions Plaintiffs identified on December 18. This untimely response ad-

  mitted the disposition of at least $82.5 million in assets since April 2020. Exs. 14, 15. But it failed

  to account for nearly $19 million in sale proceeds, and omitted critical information about the dis-

  positions it did disclose. Ex. 15. Watson never supplemented his response to Interrogatory No. 2,

  and has ignored Plaintiffs’ repeated requests to address his receipt and use of proceeds from

  Northstar’s post-injunction asset sales, which now total over $100 million. In addition, Defend-

  ants’ January 8 response refused to identify “investors” who received proceeds from those sales,

  and who allegedly precluded Defendants from posting the security the Court ordered last June.

         On January 26, 2021, Plaintiffs notified Defendants of these and other deficiencies and

  demanded that Defendants: (i) “immediately cease and desist liquidating or otherwise dissipating”

  assets, including “proceeds from the executed dispositions addressed in the January 8 supplement;”

  and (ii) update their responses to provide “the required transaction details” and “recipients” of the

  dispositions. Ex. 13 at 2–3. Plaintiffs also detailed uncured deficiencies in Defendants’ November


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  response to Interrogatory 3 (transaction proceeds) that Defendants ignored in December despite

  filing claims in Delaware that month for additional payments on the same Amazon lease fees.5 Id.

  at 3–4. Plaintiffs stressed that Defendants’ deficient responses were inexcusable for this reason,

  and because their own productions referenced “at least $18,636,919” in Northstar “Acquisition,

  Leasing, Development and Asset Management” fees for the leases in suit in addition to the $5

  million Defendants admitted they received from the White Peaks sale. Id. at 4.

            On January 29, Defendants stated that they would amend their responses and “produce

  underlying documentation regarding lenders, investors, and payments concerning various

  Northstar property investments, including those referenced in Plaintiffs’ Interrogatory No. 3.”6

  Ex. 17. Plaintiffs reserved all rights, Ex. 18, and on February 3 Defendants produced 538 docu-

  ments improperly withheld from their 2020 productions, along with a letter defending their con-

  tinued asset dispositions as consistent with the Court’s injunction. The letter states that the June

  2020 injunction “applies only to the real estate transactions with Amazon, and not to any other

  assets or properties.” Ex. 21. That is incorrect. The order expressly applies to “assets used in, or

  obtained from, any activities (including but not limited to the activities described [in the order])

  relating to Defendants’ real property transactions with Amazon in Virginia since 2018.” Dkt. 57.

  And the record shows that the assets Defendants recently liquidated were purchased with Northstar


  5
    On December 15, Defendants filed suit in Delaware against IPI and developer entities presently
  serving as Plaintiffs’ landlords or developers on the lease sites at issue. Ex. 12. The Delaware
  complaint arises out of the same transactions as this case and recycles Defendants’ failed injunc-
  tion defenses as affirmative claims requesting “over $13 million in fees” beyond those already
  received on the same deals, as well as “approximately $53 million in” “GP Promote” payments.
  Defendants amended these claims on April 21, and IPI moved to dismiss on April 26 based in part
  on the record in this first-filed action. Plaintiffs have written Defendants, whose counsel here are
  also involved in the Delaware suit, reserving all rights with respect to any Delaware claims that
  are not dismissed and challenge this Court’s rulings or Plaintiffs’ positions in this case. Ex. 13.
  6
      To date, Defendants have failed to honor, or even address, the cease and desist request.


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  funds commingled with Amazon transaction proceeds, which Defendants concede were “used for

  Northstar Commercial Partners’ expenses.” Ex. 14.7 The February 3 letter also made unsubstan-

  tiated assertions that Defendants “own very little that is not heavily leveraged or with interests held

  by various investors” they still refuse to identify. Ex. 21. Plaintiffs again reserved rights on these

  and other points and challenged Defendants’ privilege claims. Defendants then withdrew their

  claims over certain communications and agreed to review their log for additional improper desig-

  nations. Exs. 22, 23. They have never reported on this review despite repeated requests.

         Defendants’ Misstatements and Deficient Productions from March Through May 2021.

  On March 2, 2021, Defendants advised that the FBI had returned several electronic devices (two

  laptops and a cell phone) seized in April 2020. Defendants initially stated that they lacked pass-

  words for the devices, but later confirmed that the FBI had provided them. Defendants then said

  they would “produce in due course”—in “a few days” to a “couple weeks”—information respon-

  sive to the July and November discovery orders. Ex. 24. On March 5, Plaintiffs requested preser-

  vation and other discovery responses by March 10. Id. Again Defendants did not comply.8

         Defendants did not make the promised productions from the returned devices until May 6,

  when they produced just 66 documents all with missing metadata and several with missing and

  disordered attachments. Ex. 25. Plaintiffs raised these and other outstanding discovery deficien-

  cies on May 10, id., and on May 13 Defendants addressed only certain attachment and Bates range

  issues. Ex. 26. On May 19, Plaintiffs advised that Defendants’ May 13 response violated Rule 34,



  7
    Defendants’ interrogatory responses confirm that “[a]ll proceeds paid to WDC Hold-
  ings/Northstar Commercial Partners … were used for Northstar Commercial Partners’ expenses.”
  Ex. 14. And their productions reflect               . See, e.g., Exs. 19, 20.
  8
    On April 21, Defendants rebuffed separate requests for documents from a Colorado suit in which
  a former employee sought seven figures in unpaid compensation. See Richards et al. v. WDC
  Holdings LLC, et al., No. 2019-cv-34472 (Colo. Dist. Ct.). That case settled on May 3, 2021.

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                                       LEGAL STANDARDS

         Federal Rule of Civil Procedure 37(b) gives the Court broad discretion to grant sanctions

  or issue other “just orders” where a party “fails to obey an order to provide or permit discovery.”

  Fed. R. Civ. P. 37(b)(2)(A). This Rule 37 authority is independent of the Court’s civil contempt

  power, which flows from the Court’s inherent authority to enforce judgments. Riggs v. Johnson

  Cty., 73 U.S. 166, 187 (1867).10 To establish civil contempt, a party must prove:

         (1) the existence of a valid decree of which the alleged contemnor had actual or
         constructive knowledge; (2) … that the decree was in the movant’s ‘favor’; (3) …
         that the alleged contemnor by its conduct violated the terms of the decree, and had
         knowledge (at least constructive knowledge) of such violations; and (4) … that
         [the] movant suffered harm as a result.

  Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000) (quoting Colonial Williamsburg

  Found. v. Kittinger Co., 792 F. Supp. 1397, 1405–06 (E.D. Va. 1992), aff’d, 38 F.3d 133 (4th Cir.

  1994)). Willfulness is not an element of civil contempt, see, e.g., In re Gen. Motors Corp., 61

  F.3d 256, 258 (4th Cir. 1995), which may be used “to coerce obedience to a court order or to

  compensate the complainant for losses sustained as a result of the contumacy.” Cromer v. Kraft

  Foods N. Am., Inc., 390 F.3d 812, 821 (4th Cir. 2004) (quotation omitted).

                                            ARGUMENT

         Defendants’ extraordinary discovery misconduct warrants sanctions under controlling Rule

  37 and civil contempt law as applied to the record here. First, the Court should strike or overrule

  Defendants’ injunction defenses that they did not receive at least $21.25 million from the transac-

  tions in suit, and that they lack assets sufficient to post the judgment security the Court ordered.

  Second, the Court should strike all of the privilege claims Defendants raised in violation of the


  10
     “The court is not limited to the kinds of orders specified in Rule 37(b)(2),” and “may safely rely
  on its inherent power” if Rule 37(b)(2) is not “up to the task.” 8B Fed. Prac. & Proc. Civ. § 2282
  n.15, 2289 (3d ed.) (citing Chambers v. NASCO, Inc., 501 U.S. 32 (1991)).

                                                   13
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  Court’s November order and the federal rules. Third, the Court should order forensic examination

  of Defendants’ data and appoint a special master to oversee their compliance with the Court’s

  discovery and related orders, at their expense and subject to court fines for non-compliance.

  I.     DEFENDANTS’ DISCOVERY VIOLATIONS ARE SANCTIONABLE UNDER
         RULE 37 AND THE COURT’S CIVIL CONTEMPT POWER

         Civil contempt sanctions do not require proof of willfulness or bad faith, only disregard of

  court orders and resulting harm. See, e.g., In re Gen. Motors Corp., 61 F.3d at 258. Accordingly,

  the Court’s contempt authority is alone sufficient to justify the relief requested in this motion. That

  said, the sanctions here are also proper under Rule 37(b), which expressly authorizes such relief

  where (1) “the non-complying party acted in bad faith”; (2) the movant can show “prejudice that

  noncompliance caused”; (3) the record demonstrates a “need for deterrence of the particular sort

  of non-compliance” in issue; and (4) the record shows that “less drastic sanctions would [not] have

  been effective.” Anderson v. Found. for Advancement, Educ. & Emp’t of Am. Indians, 155 F.3d

  500, 504 (4th Cir. 1998); see also Beach Mart, Inc. v. L&L Wings, Inc., 784 F. App’x 118, 124

  (4th Cir. 2019) (applying Anderson); Nieves v. Rreal Image, Inc., 2020 WL 2858808, at *3 (E.D.

  Va. May 15, 2020) (Buchanan, J.) (same), adopted 2020 WL 2850230 (E.D. Va. June 2, 2020).

         Bad Faith. Although “Anderson does not require a finding of bad faith before discovery

  sanctions can be awarded,” Defendants’ bad faith here is manifest. Law Enforcement All. of Am.,

  Inc. v. USA Direct, Inc., 61 F. App’x 822, 831 (4th Cir. 2003).11 “Bad faith includes willful con-

  duct, where the party ‘clearly should have understood his duty to the court’ but nonetheless ‘de-

  liberately disregarded’ it.” Axiom Res. Mgmt., Inc. v. Alfotech Sols., LLC, 2011 WL 2560096, at

  *7 (E.D. Va. June 3, 2011) (quoting Fourth Circuit authority); see Beach Mart, 784 F. App’x at


  11
     “Where a district court determines that there was no bad faith, that determination will likely be
  reflected in a less severe sanction.” USA Direct, 61 F. App’x at 831.


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  122–23 (“willfully” withholding “knowledge” and “failing to disclose” evidence constitutes bad

  faith).12 “Bad faith may [also] be established by ‘noncompliance [or] haphazard compliance [with]

  discovery orders.’” Anderson v. Sch. Bd. of Gloucester Cty., 2021 WL 1134788, at *12–13 (E.D.

  Va. Mar. 24, 2021) (quoting Fourth Circuit authorities). Accordingly, a “party’s failure to provide

  a satisfactory reason why its discovery responses were not timely” constitutes “bad faith.” Id.

  (quotation marks omitted).

         Defendants’ extraordinary discovery abuses far exceed these standards for “bad faith.” In

  Lloyd’s, this Court found bad faith because the court “specifically instructed Defendant how to

  properly amend its answers,” but “Defendant chose not to follow the [c]ourt’s clear instruction.”

  Lloyd’s, 2019 WL 3366103 at * 8 (noting that “[e]ven when given a third chance to submit proper

  answers, Defendant still equivocated in many of its responses”). Similarly in Flame, this Court

  held that where a party was “non-complian[t]” and engaged in “‘stonewalling’ tactics” against a

  background of “extensive” “discovery disputes,” the record clearly supported a finding of “bad

  faith.” Flame S.A. v. Indus. Carriers, Inc., 2014 WL 3895933, at *12 (E.D. Va. Aug. 8, 2014),

  objections overruled, 39 F. Supp. 3d 752 (E.D. Va. 2014), aff’d sub nom. Flame S.A. v. Freight

  Bulk Pte. Ltd., 807 F.3d 572 (4th Cir. 2015). Indeed, this Court held just last year that a defendant

  acted in bad faith by failing to comply with an “order compelling discovery” because the defendant

  served “‘inadequate’” responses “near[ly] one month late.” Nieves, 2020 WL 2858808, at *3–4.

         Here, Defendants deliberately withheld responsive information about transaction proceeds



  12
     See also Plant v. Merrifield Town Ctr. Ltd. P’ship, 711 F. Supp. 2d 576, 587–88 (E.D. Va. 2010)
  (“bad faith is clearly evidenced by the repeated and flagrant disregard for the binding orders of the
  magistrate judge and plaintiffs’ counsel’s misrepresentation of material facts concerning plaintiffs’
  noncompliance with these orders”); Brooks Sports, Inc. v. Anta (China) Co., 2018 WL 7488924,
  at *16 (E.D. Va. Nov. 30, 2018) (bad faith where party failed “to comply with its discovery obli-
  gations on numerous occasions” and lied to the Court).

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  and asset dispositions in violation of two court orders, and used false assurances and filler material

  to obstruct enforcement action on these violations. After refusing to answer discovery on the

  schedule the Court ordered last July, Defendants made belated productions that contained obvi-

  ously unresponsive information, see, e.g., Ex. 30 (Jimmy John’s restaurant ad), and included du-

  plicates so numerous they comprised approximately one third of total production volume, see Exs.

  31, 32. Further, despite repeatedly promising compliance with the Court’s November order grant-

  ing Plaintiffs’ motion to compel, Defendants continued to assert objections the Court overruled,

  including waived and indefensible privilege claims over more than 6,300 documents. Defendants

  likewise failed even to collect at least 70,000 responsive documents from their own vendor until

  after the Court entered its Rule 37 order in November. Defendants then falsely blamed this viola-

  tion on their vendor, even though their own emails show that they always controlled the documents

  and should have collected them last summer. Exs. 5, 6; Fed. R. Civ. P. 26; Flame, 39 F. Supp. 3d

  at 759; In re Flag Telecom Holdings, Ltd. Sec. Litig., 236 F.R.D. 177, 180 (S.D.N.Y. 2006); Societe

  Int’l, S.A. v. Rogers, 357 U.S. 197, 199–200, 204–06 (1958). Defendants next claimed they could

  not access their own devices after the FBI returned them with passwords, Ex. 16, and took more

  than two months to produce just 66 documents with missing metadata, disordered attachments,

  and other deficiencies they have refused to cure. Ex. 26. These persistent failures to meet “dis-

  covery obligations, including responding to past due discovery requests,” clearly establish bad

  faith under Rule 37. Hall v. Arlington Cty., 2014 WL 12521382, at *3 (E.D. Va. Mar. 14, 2014),

  adopted 2014 WL 12524651 (E.D. Va. Apr. 8, 2014), aff’d, 585 F. App’x 52 (4th Cir. 2014).

         Prejudice. The prejudice to Plaintiffs is equally clear. In Gloucester, prejudice existed

  where discovery delays “forced” the requesting party “to expend time and resources not only en-




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  gaging in repetitive and fruitless communications,” but also filing a “Motion for Sanctions to en-

  sure that they received the necessary discovery.” 2021 WL 1134788, at *13. “[U]nwarranted and

  unnecessary ‘expenditure of time and money’” by the other side “suffices to show prejudice.” Id.

  Here, much more than in Lloyd’s, Plaintiffs have been prejudiced by “Defendant[s’] refusal to

  provide straightforward answers to questions about basic facts in this case, prevent[ing] Plaintiffs

  from properly evaluating and addressing this matter.” Lloyd’s, 2019 WL 3366103, at *8. Plaintiffs

  have “struggled to obtain a clear, non-evasive answer from Defendant[s] to foundational ques-

  tions” about how much money Defendants received from the Amazon transactions at issue in this

  suit, the state of their assets, and their ability to comply with the Court’s injunction. Id. Lloyd’s

  pales in comparison. There, the Court found prejudice because “some of Defendant’s responses

  still constitute[d] a moving target” after amended productions. Id. Here, critical facts that De-

  fendants control remain a “moving target” after a year of litigation, including two injunction or-

  ders, two discovery orders, an appeal, and extensive collateral civil and criminal proceedings.

         The prejudice from Defendants’ failure “to produce documents … or producing them

  months [late],” Flame, 2014 WL 3895933, at *12, affects the courts as well as Plaintiffs. Defend-

  ants’ “actions (or omissions) … needlessly increased the expense, annoyance, and delay of these

  proceedings,” and improperly obstructed the injunction litigation in this Court and in Defendants’

  pending appeal. Flame, 2014 WL 3895933, at *12; see also Brooks, 2018 WL 7488924, at *16–

  17 (finding prejudice where defendant refused “to completely and expeditiously disclose and pro-

  duce documents,” such that plaintiff was “unable to adequately evaluate its case” and had to “ex-

  pen[d] considerable time and incu[r] significant monetary expenses” to enforce orders); Nieves,

  2020 WL 2858808, at *4 (similar where Defendants’ discovery violations “forc[ed] [Plaintiff] to

  litigate blindly”). This prejudice is particularly significant because the “traditional office of a



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  preliminary injunction is to protect the status quo and to prevent irreparable harm during the pen-

  dency of a lawsuit ultimately to preserve the court’s ability to render a meaningful judgment on

  the merits.” In re Microsoft Corp. Antitrust Litig., 333 F.3d 517, 525 (4th Cir. 2003); see Dkt. 99

  at 17–18. In order to “ensure that [D]efendant[s]’ assets are not so dissipated that a monetary

  judgment will be frustrated,” Hughes Network Sys. v. Interdigital Commc’ns, 17 F.3d 691, 696

  (4th Cir. 1994), this Court sought to protect and maintain the status quo through injunction orders.

  See Dkts. 16, 57, 84; U.S. ex rel. Rahman v. Oncology Assocs., 198 F.3d 489, 496 (4th Cir. 1999).

  It then ordered discovery in lieu of contempt so Defendants could substantiate their defenses.

  Dkt. 94. But Defendants squandered this opportunity, instead opting to defy the Court’s discovery

  orders and use the discovery period to dissipate assets and attack this Court’s rulings.

         Need for Deterrence. Defendants’ “[c]ontinued contumacious behavior and abuse of the

  Courts through non-compliance with its orders cannot be tolerated,” and “deterrence is greatly

  needed.” Flame, 39 F. Supp. 3d at 765; see also Brooks, 2018 WL 7488924, at *17 (“The Court

  cannot countenance complete disregard for its discovery orders and must fashion sanctions with

  an appropriate amount of deterrent effect.”). To that end, “the most severe in the spectrum of

  sanctions provided by statute or rule must be available to the district court in appropriate cases,

  not merely to penalize those whose conduct may be deemed to warrant such a sanction, but to deter

  those who might be tempted to such conduct in the absence of such a deterrent.” Nat’l Hockey

  League v. Metro. Hockey Club, Inc., 427 U.S. 639, 642–43 (1976). Severe sanctions are appro-

  priate because “parties are expected to take the Court’s orders, instructions, and timelines seri-

  ously.” Lloyd’s, 2019 WL 3366103, at *9; see also Zornes v. Specialty Indus., Inc., 1998 WL

  886997, at *5–9 (4th Cir. 1998); Mut. Fed. Sav. & Loan Ass’n v. Richards & Assocs., 872 F.2d 88,

  92–94 (4th Cir. 1989); McKenna v. Sovran Bank NA, 1987 WL 30159, at *3–5 (4th Cir. 1987).



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         Inadequacy of Alternative Sanctions. The sanctions Plaintiffs seek are necessary because

  Defendants have shown time and again that they will not comply with this Court’s orders. See,

  e.g., McDonald v. Robinson, 2018 WL 7001680, at *6 (E.D. Va. Dec. 26, 2018) (Buchanan, J.)

  (imposing default judgment because “[i]mposition of lesser sanctions will not cure [the material

  prejudice to Plaintiffs]”), adopted 2019 WL 166548 (E.D. Va. Jan. 10, 2019). The sanctions this

  motion requests are the minimum required for Defendants’ unabated discovery misconduct.

  II.    DEFENDANTS’ DISCOVERY RESPONSES FORECLOSE SEVERAL DEFENSES

         Defendants’ discovery abuses foreclose their defenses in at least two ways. First, they

  necessitate overruling the injunction defenses tied to Defendants’ discovery violations. Second,

  they preclude reliance on related factual claims and evidence to defend this suit. Such preclusive

  sanctions are particularly appropriate here because even Defendants’ deficient productions negate

  their challenge to the Court’s order for $21.25 million in judgment security. See supra (document-

  ing at least $18 million in lease-related fees in addition to $5 million in White Peaks proceeds);

  S.E.C. v. Liu, 2021 WL 943743, at *2 (9th Cir. Mar. 12, 2021) (affirming that it is not necessary

  to trace specific fraud proceeds at the preliminary injunction stage, and upholding a total asset

  freeze to “prevent a defendant from dissipating assets” and thereby “preserve the possibility of

  equitable remedies”) (quotation marks omitted).

         A.      Defendants’ Discovery Misconduct Forecloses the Affirmative Injunction De-
                 fenses the Court Ordered the Discovery to Address

         “The facts giving rise to the need for sanctions at this time are undisputed and demonstrate

  a remarkable disobedience in the face of numerous court Orders.” Axiom, 2011 WL 2560096,

  at *3. The orders here compelled discovery into Defendants’ unsubstantiated claims that they “do

  not have anywhere near enough available cash or other liquid assets to be able to place $21,250,000

  into escrow,” and “never received anywhere near that amount of money in connection with the


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  transactions” at issue in this suit, Dkt. 193-2 at 18:25–19:1. Defendants’ failure to comply with

  this discovery forecloses these defenses. If Defendants’ misconduct had occurred in full merits

  discovery, the proper remedy would be a default judgment.13 In the more limited discovery context

  here, Plaintiffs request only the more modest sanction of striking or otherwise overruling the af-

  fected defenses. See, e.g., Lloyd’s, 2019 WL 3366103, at *9 (imposing “preclusion sanctions” that

  limited defendant’s positions at summary judgment and trial); Wu v. Tseng, 2008 WL 4360990, at

  *6–7 (E.D. Va. Sept. 22, 2008) (creating presumptions against defendants).

         This sanction is particularly appropriate because Defendants’ misconduct has deprived not

  only Plaintiffs, but also this Court and the Fourth Circuit, of “critical information” that Defendants

  control and have affirmatively raised as injunction defenses. Nieves, 2020 WL 2858808, at *4

  (“Because [Plaintiff] lacks essential discovery materials … other possible sanctions [short of pre-

  clusion]… would be ineffective”); Brooks, 2018 WL 7488924, at *12, *17 (same, recommending

  default judgment for “failing to comply with … discovery orders”), adopted 2019 WL 969572

  (E.D. Va. Jan. 11, 2019) and clarified 2019 WL 969569 (E.D. Va. Feb. 5, 2019); Mya Saray, LLC

  v. Al-Amir, 831 F. Supp. 2d 922, 926, 934–35 (E.D. Va. 2011) (“[T]he only remedy that will pre-

  vent the defendants from engaging in additional nonsense is the entry of default.”).

         Indeed, Defendants’ discovery abuses here are at least on par with conduct this Court has

  repeatedly sanctioned with the heavier penalty of a default judgment. Here, as in Mya Saray,

  Defendants have engaged in “a consistent pattern of indifference and disrespect for the authority


  13
     See, e.g., Anderson, 155 F.3d at 502 (affirming Rule 37(b) default judgment where defendant
  “was extremely dilatory in responding to both interrogatories and requests for documents”); Ax-
  iom, 2011 WL 2560096, at *7 (entering Rule 37(b) default because defendants “failed to comply
  with two explicit orders of the District Judge compelling defendants to ‘fully comply with all out-
  standing discovery requests’”); Brooks, 2018 WL 7488924, at *17 (same, holding that Defendant
  “is a sophisticated party with sophisticated counsel [whose] [r]efusal to comply with this Court’s
  orders can only be interpreted as an unabashed flouting of the Court’s authority”).

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  of th[e] Court,” demonstrating that they have “no intention of abiding by the Federal Rules of Civil

  Procedure, this Court’s orders, or even advice from counsel.” 831 F. Supp. 2d at 934. Further,

  like the defendants in McDonald, Nieves, and Brooks, they did so by refusing “to comply with

  their discovery obligations on numerous occasions” after “being directly instructed” to do so.

  McDonald, 2018 WL 7001680, at *4, *6; Nieves, 2020 WL 2858808, at *4 (entering default after

  the defendant “filed some responses to Plaintiff’s interrogatories,” but the Court found them “in-

  adequate”); Brooks, 2018 WL 7488924, at *12–15 (same where defendants failed to produce re-

  sponsive information and made “multiple lies to the Court”).14 This misconduct, along with evi-

  dence sifted from Defendants’ untimely productions, precludes them from pursuing the defenses

  they have failed to substantiate for over a year in violation of multiple court orders.

         B.      Defendants’ Misconduct At a Minimum Precludes Certain Facts and Evidence

         In addition to striking the foregoing injunction defenses, the Court should enter an order

  deeming related facts established and precluding Defendants from relying on information they

  “failed to produce, or produced very late,” in violation of this Court’s orders. Flame, 2014 WL

  3895933, at *13; see also, e.g., Baker v. Curtis W. Key Plumbing Contractors, Inc., 2016 WL

  11672046, at *9 (E.D. Va. Dec. 8, 2016) (barring reliance on evidence defendants failed “to timely

  search for and produce in discovery”); Thomas v. FTS USA, LLC, 2016 WL 3566657, at *4 (E.D.

  Va. June 24, 2016) (similar); Wu, 2008 WL 4360990, at *6–7 (similar).

         The precedents above reflect Rule 37(b)’s express authorization to “prohibit[] [a] disobe-

  dient party from supporting or opposing certain claims or defenses” as a sanction for discovery


   14
     See also Wright v. James City Cty., 2014 WL 1056693, at *3 (E.D. Va. Mar. 18, 2014), aff’d,
  589 F. App’x 186 (4th Cir. 2015) (dismissing pleading because the offending party had “previously
  been granted every opportunity and multiple extensions of time to provide the information,” and
  “[p]arties cannot be allowed to ignore direct orders of the court with impunity”) (quotation marks
  omitted).

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  violations.   Fed. R. Civ. P. 37(b)(2)(A)(ii).        Here, the record at a minimum compels a

  Rule 37(b)(2)(A)(i) order that deems the following facts established and precludes Defendants

  from relying on any evidence to the contrary: (i) Defendants received at least $21.25 million in

  proceeds from the Amazon transactions in suit; (ii) Defendants pose a substantial risk of asset

  dissipation; and (iii) Defendants are precluded from arguing or presenting evidence that their assets

  are insufficient to post judgment security. See Flame, 39 F. Supp. 3d at 766; Sanders v. Smith et

  al., 2014 WL 12591161, at *2 (E.D. Va. Aug. 29, 2014); see also Fin. Mkts. Int’l, Inc. v. Booz

  Allen Hamilton, Inc., 2013 WL 5537817, at *4 (E.D. Va. Sept. 16, 2013) (excluding untimely

  testimony), adopted 2013 WL 5538341 (E.D. Va. Oct. 7, 2013). Such preclusion is necessary

  because Defendants “ha[ve] not provided a reasonable excuse for [their] failure to comply with

  the Court’s directives,” and “simply offered … conclusory assertion[s]” while “re-hash[ing]” po-

  sitions the Court already rejected. Volumetrics Med. Imaging, L.L.C. v. Toshiba Am. Med. Sys.,

  Inc., 2011 WL 2600718, at *8 (M.D.N.C. June 29, 2011).

  III.   DEFENDANTS HAVE WAIVED THEIR PRIVILEGE CLAIMS

         Defendants continue to withhold responsive information from over 6,300 documents under

  untimely and facially improper privilege claims in violation of the Court’s November order and

  controlling law. The Court should overrule these privilege claims and order immediate production.

         A.      Defendants’ Privilege Claims Violate the Court’s November Order

         The Court’s November order alone bars Defendants’ untimely and deficient privilege

  claims. When Defendants’ discovery responses were due last summer, they produced only a four-

  entry, facially deficient redaction log and stated “that is all you will be receiving.” Dkt. 193-9.

  Based on this record, the Court held in November that it was “not allowing [Defendants] to have

  any privilege objections” beyond the redaction log. Ex. 1 at 13:3–18 (emphasis added). The Court

  then said Defendants “don’t need to review [responsive documents],” “just … produce them,” id.

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  at 13:4–5, and granted Plaintiffs’ motion to compel production of “all documents and information

  responsive to the 22 requests the Court approved in July,” Dkt. 231; Dkt. 191 at 20, 25; Dkt. 215

  at 12. This ruling alone forecloses the privilege claims in Defendants’ December 31 log.

         B.      Defendants’ Privilege Claims Are Untimely and Waived

         Even if the Court’s November 13 order had permitted additional privilege assertions, which

  it did not, they must be overruled as untimely. The November order required Defendants to “com-

  plete responses … within eleven (11) days”—i.e., by November 24. Dkt. 231. Rule 34 requires a

  producing party to state whether responsive material is being withheld on the basis of privilege or

  other objections. Fed. R. Civ. P. 34(b)(2)(C). And Rule 26 states that, when “a party withholds

  information otherwise discoverable by claiming that the information is privileged or subject to

  protection as trial-preparation material, the party must: (i) expressly make the claim; and (ii) de-

  scribe the nature of the documents, communications, or tangible things not produced or disclosed”

  with sufficient detail to “enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5)(A).

  Defendants failed to do any of this in their August or September productions, or at any other point

  prior to the November 24 deadline this Court set for “produc[ing] everything” responsive to the

  July requests. Indeed, they failed to do so even after the Court’s Rule 37 deadline.

         This failure is material and highly prejudicial. This Court has held that a “plain reading of

  Federal Rule of Civil Procedure 26(a)(5)(A) requires the production of a privilege log when infor-

  mation is withheld.” Clark v. Trans Union, LLC, 2017 WL 11504623, at *8 (E.D. Va. Mar. 1,

  2017) (emphasis original). The reason is that a timely log enables litigants and courts to assess

  whether “the particular communications at issue are privileged and that the privilege was not

  waived.” RLI Ins. Co. v. Conseco, Inc., 477 F. Supp. 2d 741, 750 (E.D. Va. 2007) (quoting In re

  Grand Jury Subpoena, 341 F.3d 331, 335 (4th Cir. 2003)). Defendants violated this obligation—

  and thus waived their privilege claims—not once, but several times. See Sectek, 2016 WL
                                                  23
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  5897763, at *3 (“Because SecTek failed to file a privilege log in a timely manner, the Court finds

  that SecTek’s privilege claim … is waived.”); Herbalife Int’l, Inc. v. St. Paul Fire & Marine Ins.

  Co., 2006 WL 2715164, at *4 (N.D. W. Va. Sept. 22, 2006) (“Failure to timely produce a … log

  may constitute a waiver of any asserted privileges.”); AVX Corp. v. Horry Land Co., 2010 WL

  4884903, at *4 (D.S.C. Nov. 24, 2010) (same).

         C.      Defendants’ Privilege Claims Are Facially Deficient

         Even if Defendants’ December privilege assertions were not barred by the November or-

  der, they are facially deficient. Plaintiffs raised these deficiencies in January, and in February

  Defendants agreed that several entries were improper, see Ex. 11 (log entries 4945, 4981, 4982,

  4985, 4986), and committed to “re-review our privilege log to determine if there are other docu-

  ments that were over withheld,” Ex. 23. They have never reverted on this review despite repeated

  requests to do so. This history independently forecloses their privilege claims, which remain un-

  substantiated and thus waived. Notably, Defendants’ log shows that they are withholding respon-

  sive communications with third parties that are plainly not attorneys. See e.g., Ex. 11 at 473, 484

  (CrossCon Real Assets Capital, Inc.); id. at 230, 233 (TIAA Investments); id. at 2245, 3335 (DJM

  Architecture LLC). Further, their log is facially deficient because:

        Numerous entries fail to identify the sender or recipient. See, e.g., Ex. 11 (log entries 61–
         66, 71–74; 243, 264, 652, 705–706, 775, 839, 843–844, 948). And all entries fail to specify
         any attorneys involved in the withheld documents, or any attorney’s relationship to De-
         fendants.

        The log’s document descriptions are patently inadequate. Hundreds of entries say only
         “Email exchange with counsel RE Sterling Project,” see, e.g., Ex. 11 (log entries 3373–
         3374, 3379–3380, 5139–5140); id. (log entries 37–46) (similar). And for hundreds of oth-
         ers, the description column appears to be a cut-and-paste of the subject column. See, e.g.,
         id. (log entries 2–3, 5–12). Defendants’ descriptions of alleged work product privilege are
         similarly deficient. See, e.g., Ex. 11 (log entries 65–66) (“draft allonge”); id. (log entries
         71–74) (“Legal invoice”).

        The log also contains multiple categories of documents that presumptively fall outside the
         attorney-client and work product privileges, including numerous “[l]egal invoice[s]” and

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         “[c]alendar invite[s].” See, e.g., Ex. 11 (log entries 5539–5540); id. (log entries 743–744).

        It is difficult or impossible to determine the correct date and time of many documents on
         the log because the time or date listed in the log does not match the information on related
         documents Defendants did produce. Compare, e.g., Ex. 11 (log entry 376) (listing date of
         “4/2/2019”), with Ex. 33                                  .

         These pervasive deficiencies independently foreclose Defendants’ privilege assertions.

  Defendants must “establish” that particular documents they have logged or otherwise withheld are

  privileged and “that the privilege was not waived.” RLI, 477 F. Supp. 2d at 750 (quotation marks

  omitted). “[A] conclusory assertion that a document is privileged or protected is insufficient under

  Rule 26(b)(5).” Buskirk v. Wiles, 2016 WL 7118288, at *4 (S.D. W. Va. Dec. 6, 2016); see Neu-

  berger Berman Real Estate Income Fund, Inc. v. Lola Brown Tr. No. 1B, 230 F.R.D. 398, 406 n.14

  (D. Md. 2005) (the “burden” of establishing privilege “cannot be discharged by merely conclusory

  or ipse dixit assertions.” (quotation marks omitted)). Courts construe these requirements strictly.

  RLI, 477 F. Supp. 2d at 750–51. Accordingly, “an improperly asserted privilege is the equivalent

  of no privilege at all.” Byrnes v. Jetnet Corp., 111 F.R.D. 68, 71 (M.D.N.C. 1986) (emphasis

  added); Rambus, Inc. v. Infineon Techs. AG, 220 F.R.D. 264, 273–74, 290 (E.D. Va. 2004) (simi-

  lar); Clark, 2017 WL 11504623, at *8 (similar); Cappetta, 2008 WL 5377934, at *4 (same).

  IV.    DEFENDANTS’ DISCOVERY ABUSES WARRANT FORENSIC EXAMINA-
         TION, SPECIAL MASTER OVERSIGHT, AND ENFORCEMENT FINES

         As a sanction for Defendants’ discovery misconduct in violation of multiple orders, and to

  ensure that evidence and assets are preserved and produced, the Court should at a minimum order

  Defendants to furnish their “electronic devices and email accounts for forensic imaging and in-

  spection” by a third party that can perform Court-approved examinations and searches for respon-

  sive information. Hosch v. Bae Sys. Info. Sols., Inc., 2015 WL 12227738, at *1 (E.D. Va. Apr. 28,

  2015) (granting motion for “forensic inspection” where party refused to provide responsive docu-



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  ments) (citing Dkt. 53; Buchanan, J.); Cappetta, 2008 WL 5377934, at *6 (requiring forensic im-

  aging where defendant failed to produce responsive information within 90 days of requests).15

          The facts here are far more egregious than other cases involving forensic examinations,

  including Cappetta, where the Court ordered forensic relief in adjudicating plaintiffs’ first motion

  to compel—not, as here, after the Court has already granted such a motion and previously ordered

  the relevant discovery. (Dkts. 95, 231). The defendant in Cappetta produced an untimely and

  inadequate privilege log, “failed to answer some of the discovery” served, belatedly identified

  “responsive information,” and provided “evasive or incomplete answers to many questions or re-

  quests.” 2008 WL 5377934 at *6. This more modest “pattern of obstruction and delay by De-

  fendant” was sufficient to justify mirror imaging of a laptop in its possession. Id. at *5 .

         These precedents reflect the “well-settled” rule that courts may compel forensic inspections

  where there are “discrepancies or inconsistencies in the responding party’s discovery responses,”

  Schreiber v. Friedman, 2017 WL 11508067, at *5 (E.D.N.Y. Aug. 15, 2017) (quotation marks

  omitted), or where a party persistently “with[o]ld[s] responsive documents,” Chevron Corp. v.

  Donziger, 425 F. Supp. 3d 297, 302 (S.D.N.Y. 2019). This case presents precisely such circum-

  stances. See Schreiber, 2017 WL 11508067, at *5. Accordingly, the Court should at the very least

  order Defendants to produce their “electronic devices and email accounts” for imaging and inspec-

  tion. Hosch, 2015 WL 12227738, at *1; see Physicians Interactive v. Lathian Sys., Inc., 2003 WL



  15
    See also IHS Glob. Ltd. v. Trade Data Monitor LLC, 2019 WL 7049687, at *3 (D.S.C. Dec. 23,
  2019) (“[F]orensic imaging is not uncommon in the course of civil discovery.”) (quotation mark
  omitted); Nacco Materials Handling Grp., Inc. v. Lilly Co., 278 F.R.D. 395, 406 (W.D. Tenn.
  2011) (“the court finds that analyses of the data on the hard drives of some of the computers is
  warranted at this time and that [defendant] should bear these costs”); Koosharem Corp. v. Spec
  Pers., LLC, 2008 WL 4458864, at *2 (D.S.C. Sept. 29, 2008) (ordering forensic inspection of
  computers where “defendants’ fail[ed] to produce documents and … relevant electronic infor-
  mation stored on the computers”).

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  23018270, at *10 (E.D. Va. Dec. 5, 2003) (ordering “a ‘mirror image’ of” defendant’s computer

  and “electronic data”); Delta T, LLC v. Williams, 337 F.R.D. 395, 403 (S.D. Ohio 2021) (same

  based on party’s “unwillingness [and] failure to produce relevant information”) (quotation marks

  omitted); Koosharem, 2008 WL 4458864, at *2 (similar).

         As a complement to forensic examination, the Court should appoint a special master to

  oversee Defendants’ discovery responses. Although this Court has “inherent powe[r]” to order

  this relief, such appointments are “guided by” Rule 53. Nat’l Ass’n of Radiation Survivors v.

  Turnage, 115 F.R.D. 543, 560 (N.D. Cal. 1987). The rule provides that “a court may appoint a

  master … to … address pretrial and posttrial matters that cannot be effectively and timely ad-

  dressed by an available district judge or magistrate judge.” Fed. R. Civ. P. 53(a)(1)(C). Such

  appointments routinely include “overseeing discovery.” Amorin v. Taishan Gypsum Co., 2019

  WL 2172707, at *6 (E.D. Va. May 20, 2019). And they are particularly appropriate if a “contin-

  uing need to resolve discovery disputes undermines any confidence as to future cooperation be-

  tween the litigators.” Chisolm v. TranSouth Fin. Corp., 194 F.R.D. 538, 554 n.13 (E.D. Va. 2000).

  Indeed, in “a dispute aris[ing] between the parties respecting … discovery,” the Fourth Circuit has

  held that “upon the motion of either party, the Court shall appoint a [s]pecial master … to supervise

  the discovery.” NLRB v. Apex Decorating, Inc., 1992 WL 372393, at *1 (4th Cir. Oct. 20, 1992).

         The record here supports such an appointment, either alone or as a complement to a foren-

  sic review, at Defendants’ expense. See, e.g., In re Search Warrant Issued June 13, 2019, 942

  F.3d 159, 181 (4th Cir. 2019), as amended (Oct. 31, 2019) (holding that a “magistrate judge (or an

  appointed special master) … must perform the privilege review of [certain disputed] materials”).16


  16
      See also Turnage, 115 F.R.D. at 558-61 (“impos[ing] a variety of measures to sanction the
  defendant’s multiple [discovery] transgressions,” including “the appointment of a special master
  at defendant’s expense to supervise all further discovery”) (collecting cases).

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  Indeed, courts have routinely ordered such relief in cases involving far less egregious discovery

  abuses. See, e.g., Castle Aero Fla. Int’l, Inc. v. Mktg. & Fin. Servs., Inc., 2013 WL 12149691, at

  *1–3 (D. Minn. Apr. 5, 2013) (appointing special master “to oversee the production of documents”

  and “independently investigate the status of Defendants’ … accounts” because they failed to “pro-

  duce sufficient records” or comply with discovery orders regarding the “whereabouts and nature

  of [$3.6 million]” central to “th[e] litigation”).

          Finally, Defendants’ “blatan[t] fail[ure] to respond to discovery requests,” “fail[ure] to pro-

  duce documents,” and other “act[s] in contravention of the court’s [orders]” support the imposition

  of daily fines until they comply. Axiom, 2011 WL 2560096, at *3; see generally Buffington v.

  Baltimore Cty., Md., 913 F.2d 113, 133 (4th Cir. 1990) (quoting Hicks v. Feiock, 485 U.S. 624,

  632 (1988)) (endorsing civil contempt fines payable to the court “when the defendant can avoid

  paying the fine simply by performing the affirmative act required by the court’s order”). The

  Fourth Circuit has endorsed the use of such sanctions “to coerce obedience to a court order or to

  compensate the complainant for losses sustained as a result of the contumacy.” Cromer v. Kraft

  Foods N. Am., Inc., 390 F.3d 812, 821 (4th Cir. 2004) (quotation marks omitted) (citing authori-

  ties). Here, a daily fine payable to the Clerk of Court, starting at $1,000 and doubling each day

  Defendants fail to comply with the terms of the Court’s orders, would accord with this Court’s

  precedents. See, e.g., Bralley v. Carey, 2011 WL 6326503, at *5–6 (E.D. Va. Dec. 1, 2011).

                                             CONCLUSION

          For the reasons above, Plaintiffs respectfully request that the Court overrule the injunction

  defenses impacted by Defendants’ violation of the Court’s discovery orders, overrule the untimely

  and unsupported privilege claims Defendants asserted in December, and order forensic examina-

  tion of their devices and special master oversight of their responses to the current requests and

  associated orders, at Defendants’ expense and subject to daily court fines for non-compliance.
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  Dated: June 2, 2021          Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I hereby certify that on June 2, 2021, I will electronically file the foregoing with the Clerk

  of Court using the CM/ECF system. I will send then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

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